     Case 2:20-cv-00427-JEM Document 19 Filed 06/30/20 Page 1 of 1 Page ID #:196



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 8
                        UNITED STATES DISTRICT COURT
 9
                       CENTRAL DISTRICT OF CALIFORNIA
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11                                              )
     JAJUAN DARSAL MCKIE,                       )    Case No. CV 20-00427-JEM
12                                              )
                         Petitioner,            )
13                                              )    JUDGMENT
                  v.                            )
14                                              )
     WARREN L. MONTGOMERY,                      )
15                                              )
                         Respondent.            )
16                                              )
17
           In accordance with the Memorandum Opinion and Order Denying Petition for Writ of
18
     Habeas Corpus and Denying Certificate of Appealability filed concurrently herewith,
19
           IT IS HEREBY ADJUDGED that the action is dismissed with prejudice.
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21
     DATED: June 30, 2020                           /s/ John E. McDermott
22                                                 JOHN E. MCDERMOTT
                                             UNITED STATES MAGISTRATE JUDGE
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